Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 1 of 134




                  Exhibit A
                          Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 2 of 134

                                                EXHIBIT “A”

Surfaces Original   Used by Capcom – Resident Evil 4
                          Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 3 of 134

                                                EXHIBIT “A”


Surfaces Original   Used by Capcom – Resident Evil
                                          Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 4 of 134

                                                                EXHIBIT “A”

              Surfaces Original                     Used by Capcom – Resident Evil 4
Photo from Lockwood Mansion in Norwalk:
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 5 of 134

                                          EXHIBIT “A”




Surfaces Original             Used by Capcom – Resident Evil HD
                          Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 6 of 134

                                                EXHIBIT “A”

Surfaces Original   Used by Capcom – Devil May Care 1
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 7 of 134

                                          EXHIBIT “A”

Surfaces Original         Used by Capcom – Devil May Care 1
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 8 of 134

                                          EXHIBIT “A”

Surfaces Original         Used by Capcom – Devil May Care
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 9 of 134

                                          EXHIBIT “A”

Surfaces Original         Used by Capcom – Resident Evil 4
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 10 of 134

                                           EXHIBIT “A”

Surfaces Original           Used by Capcom – Resident Evil
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 11 of 134

                                           EXHIBIT “A”

Surfaces Original           Used by Capcom – Resident Evil Remake
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 12 of 134

                                           EXHIBIT “A”

Surfaces Original            Used by Capcom – OB2
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 13 of 134

                                           EXHIBIT “A”

Surfaces Original            Used by Capcom – Resident Evil
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 14 of 134

                                           EXHIBIT “A”

Surfaces Original            Used by Capcom – Resident Evil 4
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 15 of 134

                                           EXHIBIT “A”

Surfaces Original            Used by Capcom – Resident Evil 4
Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 16 of 134

                       EXHIBIT “A”
Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 17 of 134

                       EXHIBIT “A”
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 18 of 134

                                           EXHIBIT “A”

Surfaces Original                Used by Capcom – Resident Evil 4
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 19 of 134

                                           EXHIBIT “A”

Surfaces Original                Used by Capcom – Resident Evil 4
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 20 of 134

                                           EXHIBIT “A”

Surfaces Original               Used by Capcom – Resident Evil 4
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 21 of 134

                                           EXHIBIT “A”

Surfaces Original                Used by Capcom – Resident Evil 4
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 22 of 134

                                           EXHIBIT “A”

Surfaces Original                Used by Capcom – Resident Evil 4
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 23 of 134

                                           EXHIBIT “A”

Surfaces Original                Used by Capcom – Resident Evil 4
Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 24 of 134

                       EXHIBIT “A”
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 25 of 134

                                           EXHIBIT “A”

Surfaces Original                Used by Capcom – Resident Evil Remake
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 26 of 134

                                           EXHIBIT “A”

Surfaces Original                  Used by Capcom – Resident Evil 4
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 27 of 134

                                           EXHIBIT “A”

Surfaces Original                  Used by Capcom – Devil May Cry
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 28 of 134

                                           EXHIBIT “A”

Surfaces Original                Used by Capcom – Resident Evil 4
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 29 of 134

                                           EXHIBIT “A”

Surfaces Original                Used by Capcom – Resident Evil HD
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 30 of 134

                                           EXHIBIT “A”

Surfaces Original                Used by Capcom – Devil May Cry
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 31 of 134

                                           EXHIBIT “A”

Surfaces Original                Used by Capcom – Devil May Care 1
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 32 of 134

                                           EXHIBIT “A”

Surfaces Original                Used by Capcom – Resident Evil 4
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 33 of 134

                                           EXHIBIT “A”

Surfaces Original                Used by Capcom – Resident Evil Remake
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 34 of 134

                                           EXHIBIT “A”

Surfaces Original                 Used by Capcom – Resident Evil 4
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 35 of 134

                                           EXHIBIT “A”

Surfaces Original                 Used by Capcom – Resident Evil 4
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 36 of 134

                                           EXHIBIT “A”

Surfaces Original                 Used by Capcom – Devil May Cry
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 37 of 134

                                           EXHIBIT “A”

Surfaces Original                 Used by Capcom – Devil May Cry
Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 38 of 134

                       EXHIBIT “A”
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 39 of 134

                                           EXHIBIT “A”

Surfaces Original                 Used by Capcom – Devil May Cry
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 40 of 134

                                           EXHIBIT “A”

Surfaces Original                 Used by Capcom – Resident Evil 4
Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 41 of 134

                       EXHIBIT “A”
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 42 of 134

                                           EXHIBIT “A”

Surfaces Original                 Used by Capcom – Devil May Cry 1
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 43 of 134

                                           EXHIBIT “A”

Surfaces Original                 Used by Capcom – Devil May Cry 4
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 44 of 134

                                           EXHIBIT “A”

Surfaces Original                 Used by Capcom – Resident Evil Book
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 45 of 134

                                           EXHIBIT “A”

Surfaces Original                 Used by Capcom – Resident Evil 4
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 46 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – DMC2
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 47 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil UC
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 48 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil 4
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 49 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 50 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil Outbreak File
Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 51 of 134

                       EXHIBIT “A”
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 52 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Devil May Cry HD
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 53 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Devil May Cry
Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 54 of 134

                       EXHIBIT “A”
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 55 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Devil May Cry
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 56 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil Book
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 57 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 58 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 59 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 60 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil UC
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 61 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – DMC1 & DMC2 & RE Remake
Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 62 of 134

                       EXHIBIT “A”
Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 63 of 134

                       EXHIBIT “A”
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 64 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Devil May Cry
Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 65 of 134

                       EXHIBIT “A”
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 66 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil Remake
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 67 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil 4
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 68 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil 4
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 69 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom –DMC 1
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 70 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – DMC
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 71 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil Remake
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 72 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil book
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 73 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil 4
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 74 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil 4
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 75 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil HD
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 76 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – DMC1 and RE Remake
Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 77 of 134

                       EXHIBIT “A”
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 78 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 79 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – DMC
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 80 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – DMC
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 81 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – DMC HD
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 82 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 83 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil 4
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 84 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil 4
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 85 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil UC
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 86 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil UC
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 87 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil Remake
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 88 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil Remake
Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 89 of 134

                       EXHIBIT “A”
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 90 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil Remake
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 91 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil Remake
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 92 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – DMC & RE
Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 93 of 134

                       EXHIBIT “A”
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 94 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil Remake
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 95 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – DMC1
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 96 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – DMC
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 97 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Devil May Cry 1
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 98 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – DMC1
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 99 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil Remake
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 100 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – DMC3
Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 101 of 134

                       EXHIBIT “A”
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 102 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil Remake
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 103 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 104 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil UC
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 105 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil Remake
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 106 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil Remake
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 107 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – DMCHD
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 108 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil HD
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 109 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil Remake
Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 110 of 134

                       EXHIBIT “A”
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 111 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil OB, Remake, Umbrella Corps
Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 112 of 134

                       EXHIBIT “A”
Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 113 of 134

                       EXHIBIT “A”
Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 114 of 134

                       EXHIBIT “A”
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 115 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – DMC1; DMCHD; OB1 and OB1a
Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 116 of 134

                       EXHIBIT “A”
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 117 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil 4
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 118 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil Remake X-Box
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 119 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil Remake
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 120 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil Remake, OB, HD, UC
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 121 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil Remake, OB, HD, UC
Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 122 of 134

                       EXHIBIT “A”
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 123 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil Remake, OB, HD, UC
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 124 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil UC
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 125 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil HD
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 126 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil Remake
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 127 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil UC
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 128 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil 4, Remake, HD
Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 129 of 134

                       EXHIBIT “A”
Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 130 of 134

                       EXHIBIT “A”
Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 131 of 134

                       EXHIBIT “A”
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 132 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil UC
Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 133 of 134

                       EXHIBIT “A”
                    Case 3:21-cv-00775 Document 1-1 Filed 06/04/21 Page 134 of 134

                                           EXHIBIT “A”

Surfaces Original                               Used by Capcom – Resident Evil Remake, 4




                                                                 RE4
